 Case: 1:22-cv-00150-MRB-KLL Doc #: 3 Filed: 03/24/22 Page: 1 of 1 PAGEID #: 37




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

Michael Leal,

              Plaintiff,                                Case No. 1:22cv150

              v.                                        Judge Michael R. Barrett

Felicia Bedel, et al.,

              Defendants.

                                ORDER OF REFERENCE


              Pursuant to 28 U.S.C. § 636 and Southern District of Ohio (Western Division

at Cincinnati) General Order 14-01, United States Magistrate Judge Karen L.

Litkovitz, is hereby appointed to rule upon all non-dispositive pretrial motions, to report

to the Court her recommended disposition of all dispositive pretrial motions, to serve as

Special Master for a non-jury trial where the parties consent thereto or where an

exception condition exists, and to report to the Court her recommended decision in this

action; to preside at a jury trial where the parties consent thereto, and to enter final

judgment where the parties consent thereto.

              The Magistrate Judge is further appointed to hear and determine all

post-trial motions.

              IT IS SO ORDERED.



                                                  s/Michael R. Barrett
                                                 Michael R. Barrett, Judge
                                                 United States District Court
